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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA FILED
                             BRUNSWICK DIVISION         U.S. 81 TR+ T CO'J T


                                                                          JAN ! 6   p   3b
UNITED STATES OF AMERICA

      v.                                  : CASE NO .: CR206-2 6


KYLE McCORMICK,
JAMES RAY SHEARIN
WENDELL O'NEAL
IKE GROOVER



                                      ORDE R

      The Court has been advised that all motions filed on behalf of Wendell O'Neal

have been resolved by the parties .

      Accordingly, all such resolved motions are hereby DISMISSED as moot.

      SO ORDERED , this        /6' day of January, 2007 .

                                                MES E . GRAHA M
                                               NITED STATES MAGISTRATE JUDGE
